Case 1:16-cV-O4118-ELH Document 1 Filed 12/29/16 Page 1 of 5

 

PETER CONTE * IN THE UNITED STATES
507 Reserve Champion Drive
Rockville, Maryland 20850 * DISTRICT COURT FOR
Plaintiff, * THE DISTRICT OF MARYLAND
V. *
CASE NO.

DEPARTMENT OF 'I`HE NAVY *
Off'ice of the Judge Advocate General
Tort Claims Unit Norfoll< * JURY TRIAL DEMANDED
9620 Maryland Avenue, Suite 205
Norfoll<, VA 23 51 1-2949 *
Defendant.

COMPLAINT

Peter Conte (hereinafter ‘°Plaintift"), by and through his attorneys, Lauren M. Geisser,
Scarlett M. Corso and Gilman & Bedigian, LLC sues the Department of the Navy (hereinaHer
c‘Defendant”) and states as follows:

1. That Plaintiff is a resident of Montgomery County, Maryland.

2. That Defendant is a business domiciled in the State of Virgim`a that regularly does
business in the State of Malyiand.

3. That on or about June 30, 2015, at approximately 10:00 a.m., Plaintiff Was
lawfully and carefully operating his motorcycle northbound on Greenbury Point Road at or near
its intersection With Providence Road, Which is in Anne Arundel County, Maryland.

4. 'l`hat at approximately the same time and place a Vehicle owned by the Defendant
and operated with permission by the Defendant’s agent/servant/employee, Maria lsabel Sarant,
Was attempting to exit the rear parking lot of the NEXfCommissaiy from Providence Road and
Was attempting to turn south onto Greenbury Point Road. Defendant failed to yield the right of

Way to Plaintiff and entered the path of Plaintifl` s Vehicle, causing Plaintiff to forcefully collide

 

Case 1:16-cV-O4118-ELH Document 1 Filed 12/29/16 Page 2 of 5

With the front and driver’s side of Defendant’s vehicle.

COUNT l
Negligence

5. Plaintiff adopt by reference the allegations contained in paragraphs l through 4
and all other counts of this Complaint with the same effect as if herein fully set forth.

6. That Maria lsabel Sarant was operating the Defendant’s vehicle, as an
agent/servant/employee of the Defendant in a negligent and careless manner by failing to
exercise care and caution for the safety of others on a public highway; failing to maintain a
proper lookout;, failing to exercise care and caution to avoid a collision, failing to maintain proper
control over her vehicle, violating the Maiyland Transpoitation Code and was otherwise
negligent in causing this collision.

7 That as a proximate result of the negligence of the Defendant, Plaintiff was caused
to be seriously, painfully, and permanently injured about the head, bacl<, necl(, shoulders, arms,
legs, feet, spine, body, and limbs, to undergo hospital treatment and medical care; to incur
medical expenses; and to lose time and wages from his employment and from his other daily
pursuits.

8. That as a proximate result of the Defendant’s negligence, the Plaintiff will in the
future undergo medical care and treatment; to incur medical expenses; and to lose time from his
employment and from his other daily pursuits.

9. That as a proximate result of the negligence of the Defendant, Plaintiff was caused
to suffer substantial property damage to his vehicle, vehicle rental, automobile storage fees,
automobile towing costs and other damage to personal property, direct and consequential.

l(). The Plaintiff further states that all of his injuries, damages, and losses complained

 

Case 1:16-cV-O4118-ELH Document 1 Filed 12/29/16 Page 3 of 5

of were caused directly by the negligence of the Defendant, without any negligence on the part of
the Plaintiff contributing thereto.

WHEREFORE, this suit is brought and the Plaintiff, Peter Conte, demands judgment
against Defendant for the amount in excess of Seventy-Fivc Thousand Dollars ($75,000.00) in
compensatory damages, plus interest and costs.

M
Negli gent Entrustrnent

li. Plaintiff adopts by reference the allegations contained in paragraphs l through 10
and all other counts of this Complaint with the same effect as if herein fully set forth.

12. Defendant owned and supplied the vehicle to Maria isabel Sarant.

13. Defendant knew, or should have l<nown, that Maria lsabel Sarant had a propensity
to operate vehicles in a negligent and unsafe manner, which likely cause physical Would damage
to others.

14. That as a proximate result of the negligence of the Defendant, Plaintiff was caused
to be seriously, painfully, and permanently injured about the head, back, neck, shoulders, arms,
legs, feet, spine, body, and limbs, to undergo hospital treatment and medical care; to incur
medical expenses; and to lose time and wages from his employment and from his other daily
pursuits.

15. That as a proximate result of the Defendant’s negligence, the Plaintiff will in the
future undergo medical care and treatment; to incur medical expenses; and to lose time from his

employment and from his other daily pursuits.

 

Case 1:16-cV-O4118-ELH Document 1 Filed 12/29/16 Page 4 of 5

16. That as a proximate result of the negligence of the Defendant, Plaintiff was caused
to suffer substantial property damage to his vehicle, vehicle rental, automobile storage fees,
automobile towing costs and other damage to personal property, direct and consequential

l7. The Plaintiff further states that all of his injuries, damages, and losses complained
of Were caused directly by the negligence of the Defendant, without any negligence on the part of
the Plaintiff contributing thereto.

WHEREFORE, this suit is brought and the Plaintiff, Peter Conte, demands judgment
l against Defendant for the amount in excess of Seventy-Five Thousand Dollars ($75,000.()()) in
compensatory damages, plus interest and costs.

COUNT III
Respondent Superior

18. Plaintiff adopts by reference the allegations contained in paragraphs l through 17,
and all other counts of this Complaint with the same effect as if herein fully set forth.

19. At all times relevant hereto Maria lsabel Sarant Was acting in the scope of his
employment for Defendant.

20. As a result Defendant is responsible for the negligent acts of Maria lsabel Sarant.

WHEREFORE, this suit is brought and the Plaintiff, Peter Conte, demands judgment
against Defendant for the amount in excess of Seventy-Five Thousand Dollars ($75,{)00.{)0) in

compensatory damages, plus interest and costs.

 

GlLl\/lAN & BEDIGIAN, LLC
108 West Timonium Road, Suite 203

 

Case 1:16-cV-O4118-ELH Document 1 Filed 12/29/16 Page 5 of 5

Timonium, l\/ID 21093
(410) 5 60-4999 (phone)
(410) 308-3116 (fax)
scorso@gblegalteam.com
Arrorneysfor Plaintijj"

DEMAND F(}R JURY TRIAL

Plaintiff requests a jury on all issues herein.

r ett M. Cor

 

